           Case 2:98-cr-00034-LGW-JEG Document 487 Filed 09/11/06 Page 1 of 3
PROB 12B
(7/93)

                                     United States District Court
                                                for the
                                        Southern District of Georgia
                                            Brunswick Division

                     Request for Modifying the Conditions or Term of Supervision
                                    with Consent of the Offende r                1
                                    (Probation Form 49, Waiver of Hearing is Attached)




Name of Offender: Ricky Cooper                                                      Case Number : CR298-000'4-
Name of Sentencing Judicial Officer : Honorable Anthony A . Alaimo
                                        Judge, U .S . District Court
Date of Original Sentence : November 25, 199 8
Original Offense: Distribution of crack cocaine
Original Sentence : 140 months imprisonment ; 5 years supervised release
Type of Supervision : Supervised Releas e

Date Supervision Commenced : February 2, 2006
Assistant U .S . Attorney : Frederick W. Kramer, III
Defense Attorney: Kevin Gough



                                      PETITIONING THE COURT

[]   To extend the term of supervision for years , for a total term of years .
[X] To modify the conditions of supervision as follows :

The defendant shall complete 40 hours of community service at a rate of 10 hours per month beginning
October 2006 .

                                                      CAUS E

On August 25, 2006, Cooper submitted a urine specimen that field tested positive for cocaine . The sample
was forwarded to STL Laboratories and was confirmed positive for cocaine on September 1, 2006 . Upon
being presented with the positive result, Cooper denied any use of cocaine and he also denied the need for
treatment. However, Cooper did admit that he was recently at a poolroom where individuals were smoking
marihuana laced with cocaine .

This is Cooper's first positive drug screen since commencing supervision. Cooper is not being referred to
outpatient drug treatment since he does not appear to be amenable to participating in a program . More
frequent urinalyses will be conducted to monitor to his drug use and if he tests positive again, a request will
be submitted to the Court to order Cooper's participation in outpatient substance abuse treatment . However,
U.S . Probation respectfully recommends the Court impose this modification as a sanction for Cooper's
failure to refrain from any unlawful use of a controlled substance .
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Prob 12B Request for Modifying the Conditions or Term of Supervisio n

Re : Ricky Cooper
Case Number: CR298-00034-006
Page 2



Attached Your Honor will find a Form 49, Waiver of Hearing, signed by the offender indicating that he
agrees to the modification .



                                                                Respectfully submitted ,


                                                           by
ReviAwed by :      DavidjWPaga
                                   U.S. PYobation Officer
                                   Date : September 8, 2006
  Barry B ainnier
 uperviso U . S . P bation Officer


THE COURT ORDERS :
[ ] No Action
[ ] The Extension of Supervision as Noted Above
[ t-T- The Modification of Conditions as Noted Above
[ ] Other                                                                                  w
                                                                                           co




                                                                Judge, U .S . Di rict Court



                                                                       2-   /1   - 0 to
                                                                Date
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PROB 49
                                  Waiver of Hearing to Modify Condition s
                       of Probation/Supervised Release or Extend Term of Supervisio n


                         UNITED STATES DISTRICT COURT
                                     for the
                                Brunswick Division

       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended . By `assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel . I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if lam not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel . I
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision :

The defendant shall complete 40 hours of community service at a rate of 10 hours per month
beginning October 2006 .



 Witness :                                             Signed : " -' /
                U.S.          on Officer                      Probatio r


                                                   DATE
